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 7
                       IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,         )   MJ. NO.   11-237-KJN
11                                     )
                     Plaintiff,        )
12                                     )
          v.                           )   STIPULATION AND
13                                     )   ORDER LIMITING DISSEMINATION OF
     MATTHEW RAY AUSBORN, and          )   DISCOVERY BETWEEN PLAINTIFF
14   CHRISTINA BARRIOS,                )   UNITED STATES AND DEFENDANTS
                                       )
15                                     )
               Defendant.              )
16                                     )
17
18        HEREBY, plaintiff United States and defendants Ausborn and
19   Barrios, by and through their counsel, Michael Bigelow and Matthew
20   Scoble, recognize that the discovery in this case is voluminous and
21   contains a large amount of "protected information" (including but not
22   limited to the victims' identification information, mail related
23   information, personal financial account numbers, and residential
24   addresses).   Since the parties desire to avoid both the necessity of
25   large scale redactions and the unauthorized disclosure or
26   dissemination of this information to anyone not a party to the court
27   proceedings in this matter, the parties further recognize that entry
28   of a stipulated protective order is appropriate.

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 1        WHEREFORE, defendants, by and through their respective counsel,
 2   and plaintiff United States, hereby stipulate as follows:
 3   1.   This Court may enter protective orders pursuant to Rule 16(d) of
 4        the Federal Rules of Criminal Procedure, and its general
 5        supervisory authority.
 6   2.   This Order pertains to all discovery provided to or made
 7        available to Defense Counsel as part of discovery in this case
 8        (hereafter, collectively known as “the discovery”).
 9   3.   By signing this Stipulation and Protective Order, Defense Counsel
10        agrees not to share any documents that contain Protected
11        Information with anyone other than associated Defense Counsel and
12        designated defense investigators and support staff.         Defense
13        Counsel may ONLY permit the defendant to view unredacted
14        documents in the presence of her attorney, defense investigators
15        and support staff.    The parties agree that Defense Counsel,
16        defense investigators and support staff shall not allow the
17        defendant to copy Protected Information contained in the
18        discovery.   The parties agree that Defense Counsel, defense
19        investigators, and support staff may provide the defendant with
20        copies of documents from which Protected Information has been
21        redacted.
22   4.   The discovery and information therein may only be used in
23        connection with the litigation of this case and for no other
24        purpose.    The discovery is now and will forever remain the
25        property of the United States Government.        Defense Counsel will
26        return the discovery to the Government or certify that it has
27        been shredded at the conclusion of the case.
28   5.   Defense Counsel will store the discovery in a secure place and

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 1         will use reasonable care to ensure that it is not disclosed to
 2         third persons in violation of this agreement.
 3   6.    Defense Counsel shall be responsible for advising his client,
 4         defendant Lucero, any and all of his employees, and other members
 5         of the defense team, and defense witnesses of the contents of
 6         this Stipulation/Order.
 7   7.    In the event that the defendant substitutes counsel, undersigned
 8         Defense Counsel agrees to withhold discovery from new counsel
 9         unless and until substituted counsel agrees, in writing, also to
10         be bound by this Order.
11              4/20/12
     DATED:    _____________                  BENJAMIN B. WAGNER
12                                            United States Attorney
13                                             /s/ Michelle Rodriguez
                                          By: _______________________
14                                            MICHELLE RODRIGUEZ
                                              Assistant U.S. Attorney
15
16
17              4/20/12                        /s/ Michelle Rodriguez per
                                               approval via email from Mr Bigelow
18   DATED:    _____________              By: _______________________
                                              MICHAEL BIGELOW
19                                            Counsel for Defendant Ausborn
20
21
                4/20/12                        /s/ Michelle Rodriguez per
22                                             approval via email from Mr Scoble
     DATED:    _____________              By: _______________________
23                                            MATTHEW SCOBLE
                                              Counsel for Defendant Barrios
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 1                                     ORDER
 2         For the reasons set forth herein, the stipulation of the parties
 3   is hereby entered upon the records of this court.         Accordingly,
 4   dissemination of discovery in this matter is hereby limited pursuant
 5   to this protective decree.
 6         SO ORDERED.
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     DATED: April 23, 2012
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                                               KENDALL J. NEWMAN
13                                             UNITED STATES MAGISTRATE JUDGE
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